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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                  CRIMINAL ACTION NO. 2:12-00167-02

JAMIE L. FOSTER


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


            On August 5, 2014, the United States of America

appeared by Jennifer R. Herrald, Assistant United States

Attorney, and the defendant, Jamie L. Foster, appeared in person

and by her counsel, Philip B. Sword, for a hearing on the

petition on supervised release submitted by United States

Probation Officer Joseph Black.        The defendant commenced a

three-year term of supervised release in this action on June 20,

2013, as more fully set forth in the Judgment Including Sentence

Under the Sentencing Reform Act entered by the court on March

15, 2013.


            The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

failed to work regularly at a lawful occupation from the time of

the commencement of supervised release on June 20, 2013, up

until the time of the filing of the petition on June 12, 2014,

despite being referred to Workforce West Virginia; (2) the

defendant used and possessed two opiate pain pills without a

prescription on March 15, 2014, and one opiate pain pill on

February 19, 2014, without a prescription as admitted by her to

the probation officer on March 20, 2014; (3) the defendant

failed to report for urine screens as directed on October 31,

November 4 and December 31, 2013; January 15, February 3 and 18,

March 4, 17 and 27, April 14 and 23, and May 14 and 28, 2014;

(4) the defendant failed to attend substance abuse counseling as

instructed on June 20, 2013, inasmuch as she was directed to

attend two, one hour sessions per month and as of June 12, 2014,

she had only attended three counseling sessions; and (5) the

defendant committed the state and local offenses of driving on a

suspended license, no seat belt and no insurance for which she

was cited in March, 2014, and as admitted by her to the
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probation officer on March 20, 2014; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and she hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

THREE (3) MONTHS, to be followed by a term of thirty-three (33)

months of supervised release upon the standard conditions of

supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the
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defendant not commit another federal, state or local crime and

the special condition that she spend a period of six (6) months

in a community confinement center, follow the rules and

regulations of the facility, and participate in drug abuse

counseling and treatment as directed by the probation officer.


           The defendant shall surrender for service of the

sentence to the United States Marshal by 11:00 a.m. on August

15, 2014, and remains subject to the terms and conditions of the

bond entered into by her on July 17, 2014.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:      August 5, 2014



                                         John T. Copenhaver, Jr.
                                         United States District Judge




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